           Case 2:11-cr-00116-LRS             ECF No. 227                filed 04/04/12              PageID.961 Page 1 of 2
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                  «17014»
                                                                       for
                                              Eastern District of Washington


 U.S.A. vs.                 Chelce A. Zimmerman                                        Docket No.               2:11CR00116-005


                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Chelce A. Zimmerman who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno
sitting in the Court at Spokane, WA, on the 28th day of October 2012 under the following conditions:

Standard Condition: Defendant shall immediately advise the Court, defense counsel and the U.S. Attorney in writing before
any change in address and telephone number.

Additional Condition: Defendant shall complete treatment indicated by an evaluation or recommended by Pretrial Services
and shall comply with all rules of a treatment program. Defendant shall be responsible for the cost of testing, evaluation
and treatment, unless the United States Probation Office should determine otherwise. The United States Probation Office
shall also determine the time and place of testing and evaluation and the scope of treatment. If the defendant fails in any
way to comply or cooperate with the requirements and rules of a treatment program, Pretrial Services shall notify the Court
and the U.S. Marshal, who will be directed to immediately arrest the defendant.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant changed her address without prior notification.

Violation #2: The defendant has been non-compliant with her outpatient substance abuse treatment.

                            PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                          I declare under penalty of perjury that
                                                                                          the foregoing is true and correct.
                                                                                          Executed on:        04/04/2012
                                                                                 by       s/Erik B. Carlson
                                                                                          Erik B Carlson
                                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
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PS-8
Re: Zimmerman, Chelce A.
April 4, 2012
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                                                         Signature of Judicial Officer

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                                                         Date
